Case 21-40834-drd11          Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                   Desc
                               Main Document    Page 1 of 14



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
In Re:                               )
                                     )
INTERSTATE UNDERGROUND WAREHOUSE )         Case No. 21-40834-drd11
AND INDUSTRIAL PARK, INC.,           )
                                     )
                Debtor.              )

               DEBTOR'S SECOND AMENDED DISCLOSURE STATEMENT

                                       I. INTRODUCTION

        This Second Amended Disclosure Statement (“Disclosure Statement”) is provided to the
creditors of Interstate Underground Warehouse and Industrial Park, Inc. (“IUW” or “Debtor”), to
enable the creditors to arrive at an informed judgment in exercising their rights under the
Debtor's Third Amended Plan of Reorganization (the "Plan"). The definitions of Article I of the
Plan shall have the same meaning when used in this Disclosure Statement.

        The function of this Disclosure Statement is to provide "adequate information" to all
creditors. "Adequate information" is defined in 11 U.S.C. '1125 as follows:

       Section 1125. Postpetition disclosure and solicitation.

       "(a")   In this section --

               (1)     'adequate information' means information of a kind, and in sufficient
                       detail, as far as is reasonably practicable in light of the nature and history
                       of the debtor; and the condition of the debtor’s books and records, that
                       would enable a hypothetical reasonable investor typical of holders of
                       claims or interests of the relevant class to make an informed judgment
                       about the plan...; and

               (2)     'investor typical of holders of claims or interests
                       of the relevant class' means investor having --

                       (A)     a claim or interest of the relevant class;

                       (B)     such relationship with the debtor as the
                               holders of other claims or interests of such
                               class generally have; and

                       (C)     such ability to obtain such information from
                               sources other than the disclosure required by

                                                  1
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                Desc
                              Main Document    Page 2 of 14



                              this section as holders of claims or interests
                              in such class generally have."

     THE REPRESENTATIONS MADE IN THIS DISCLOSURE STATEMENT ARE THE
ONLY REPRESENTATIONS AUTHORIZED BY THE DEBTOR RESPECTING ITS
BUSINESS OPERATIONS, THE VALUE OF ITS PROPERTY OR ANY OTHER MATTERS
WHATSOEVER. CREDITORS SHOULD NOT RELY ON ANY UNAUTHORIZED
REPRESENTATIONS WHICH ARE MADE TO SECURE THEIR ACCEPTANCE OR
REJECTION OF THE PLAN. THE COURT WILL CONDUCT A HEARING ON WHETHER
OR NOT THIS DISCLOSURE STATEMENT SHOULD BE APPROVED AS CONTAINING
ADEQUATE INFORMATION TO ENABLE ALL CREDITORS TO MAKE AN INFORMED
JUDGMENT ABOUT THE PLAN.

        The information provided in this Disclosure Statement is true and accurate to the best of
the Debtor's knowledge, information, and belief. However, certain information relating to
projections and values is necessarily subjective.

      CREDITORS ARE ENCOURAGED TO CONSULT WITH THEIR FINANCIAL
ADVISORS, ATTORNEYS, AND OTHER CREDITORS IN ORDER TO OBTAIN A MORE
COMPLETE UNDERSTANDING OF THE FINANCIAL AND LEGAL IMPLICATIONS OF
THE DISCLOSURE STATEMENT AND THE PLAN. CREDITORS AND PARTIES IN
INTEREST SHOULD CONSULT THEIR OWN COUNSEL AND TAX ADVISORS
REGARDING THE INCOME TAX CONSEQUENCES OF CONFIRMATION OF THE PLAN
AS IT RELATES TO THEM. THE DEBTOR MAKES NO REPRESENTATION
REGARDING THE EFFECT OF CONFIRMATION OF THE PLAN ON HOLDERS OF
CLAIMS AND INTERESTS.

       Creditors may contact counsel for the Debtor for additional information. The counsel for
the Debtor can now provide tax returns for (fiscal years) 2017 through 2020. These tax returns
have now been completed and filed. The tax returns recently prepared reflect the activity of the
Debtor June 1, 2017 through May 31, 2021. The next fiscal year (6/1/21-5/31/22) hasn’t ended
and the returns are not yet due. Debtor’s counsel can also provide Monthly Operating Reports.

        Attached to this Disclosure Statement are Historical Information (Exhibit A) from 2017
to the present (based upon fiscal years) as well as Projections for 2022-2026 (based upon annual
years) as Exhibit B.

        The Court will probably conditionally approve the Disclosure Statement and set a hearing
on confirmation of the Plan and final approval of the Disclosure Statement. When the Court sets
a hearing for confirmation of the Plan and final approval of the Disclosure Statement, the
Debtor's counsel will mail a copy of the Plan, Disclosure Statement, Ballot, and Notice of the
hearing to all creditors. At the confirmation hearing, the Court will determine whether the
Disclosure Statement provides adequate information. At the confirmation hearing, the Court will
determine whether the Plan has been accepted by the requisite number of classes of creditors and
will rule on whether the Plan complies with the confirmation requirements of 11 U.S.C. §1129.

                                                 2
Case 21-40834-drd11          Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                  Desc
                               Main Document    Page 3 of 14




        The Plan will have several Classes of Claims and each creditor should examine those
Classes to determine where its Claim has been placed. A Class of Claims will have accepted a
Plan if the Plan has been accepted by creditors [other than any entity designated under 11 U.S.C.
§1126(e)] which hold at least two-thirds in amount and one-half in number of the Allowed
Claims of such Class held by creditors [other than any entity designated under 11 U.S.C.
§1126(e)] that have voted to accept or reject the Plan.

         If the Plan is accepted by the impaired Classes, it will likely be confirmed. If the Plan is
not accepted by the impaired Classes, the Plan may nonetheless be confirmed under §1129(b) of
the Bankruptcy Code if it is accepted by at least one Class of Claims or interests which is
impaired by the Plan and the Bankruptcy Court finds that the Plan does not discriminate unfairly
and is fair and equitable with respect to each Class of Claims or interests that is impaired by, and
has not accepted, the Plan. The Debtor reserves the right to request that the Court confirm the
Plan under §1129(b) of the Bankruptcy Code if the Plan is not accepted by all impaired Classes
and, if necessary, to revise and amend the Plan so as to provide such treatment as the Court may
determine to be necessary or sufficient to assure that the Plan does not discriminate unfairly, and
is fair and equitable, with respect to any Class of Claims or interests rejecting or failing to accept
the Plan.

                    II. ORGANIZATION AND HISTORY OF THE DEBTOR

IUW was established on February 23, 1978 as Callaway Mining Company with the Missouri
Secretary of State by Michael C. Kirk. The initial directors were Wayne Reeder, Warren Reeder
and Freida Cribbs. On January 13, 1989, the name of the company was changed to Interstate
Underground Warehouse and Industrial Park, Inc.

In 1992, Wayne Reeder and his wife Sammy Jo Reeder divorced. The outstanding stock of IUW,
which was previously owned by both spouses, 50% by each, was transferred to Sammy Jo
Reeder, so that she owned and continues to own 100% of the outstanding stock. Wayne Reeder
had been an officer in 1992 but Sammy Jo Reeder was the sole director in 1992.

The annual registration report filed in 1993 reflects the departure of Wayne Reeder as an officer
and director. From 1993 to March, 2020, Wayne Reeder was allowed to consult with the existing
management of the Debtor’s business. In March 2020, Wayne Reeder was terminated from his
role and since then, has had no role as a manager, employee or consultant.

The corporation owns land at 8301 East 23rd Street, Kansas City, Missouri. The land is primarily
limestone caves, and the company leases its space to individuals and companies. The caves are
conveniently located at I-435 and 23rd Street, north of the I-70 Interchange and east of downtown
Kansas City, Missouri.

The Debtor offers three million square feet of dry storage in a constant environment, nearly
250,000 square feet of cooler space, and more than 500,000 square feet of freezer space.


                                                  3
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                 Desc
                              Main Document    Page 4 of 14



Debtor has been recognized as a leader in frozen food storage. Debtor offers self-storage with a
wide range of units as well as self-storage for vehicles, RVs, and boats.

                          III. GROWTH TRENDS FOR THE DEBTOR

   A. Marketing/Advertising

Debtor has embarked on a new marketing and advertising campaign to attract new customers,
targeting commercial customers who might be able to rent larger space and at a higher rate.

Debtor has made and is continuing to make improvement to its infrastructure which includes (i)
new lighting, (ii) painting, (iii) cleaning and (iv) signage to create a new and fresh image.

Debtor has revised its pricing in leased areas and vehicle storage areas to reflect current market
rates.

Debtor has repurposed areas that were previously unleased or under-utilized and is continuing
this process. To illustrate the expansion of usable leased space, Debtor has, since August, 2021,
leased approximately 100,000 of newly prepared space with another 339,833 of available space
added to the existing inventory of leasable space.

   B. Shortage of Leasable Commercial Space

As a result of the COVID 19 crisis, the market for commercial warehouse space has changed
dramatically. This began in early 2020. Many businesses moved away from brick-and-mortar
stores and began warehousing their products in facilities like the Debtor’s. There was an increase
in construction for housing and remodeling that caused a huge demand in the construction
industry for materials. Also, because of supply chain problems, many suppliers purchased
materials beyond their immediate need for future use and needed to stockpile those materials in
warehouse facilities.

Further, the extent of available leased space decreased significantly in July, 2021 when the Leeds
Warehouse facility suffered a huge fire and was permanently closed. It had about 1.5 million
square feet of storage space. That facility was close by the Debtor’s operation and Debtor’s
operation became a convenient substitute for the Leeds facility. Debtor obtained a number of
customers who had previously utilized the Leeds facility.

Debtor leased from July, 2021 through April, 2022, approximately 150,000 square feet and has
renovated/repurposed another 200,000 square feet which is now available for lease.

   C. Development/expansion of cave space—mining

Construction materials that are in high demand include rock and gravel. The Debtor’s facilities
have areas that are unmined and could be leased to a mining company. Debtor would obtain
royalties from the mining company. The Debtor estimates that a mining company could go

                                                 4
Case 21-40834-drd11          Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                  Desc
                               Main Document    Page 5 of 14



down 8-12 feet for winterset rock.

    IV. TROUBLE THAT CAUSED DEBTOR TO SEEK BANKRUPTCY PROTECTION

        Leslie Reeder arrived in Kansas City to inspect the Debtor’s property. Sammy Jo Reeder,
the sole owner, was very concerned as she had learned that payroll was not current. Further,
Wayne Reeder was attempting to have Sammy Jo Reeder sign a personal guaranty for a
$12,000,000 loan to consolidate all debts of the Debtor and a number of subsidiary debts. Leslie
Reeder discovered the Debtor was in dire financial condition with numerous unpaid bills, all
loans were in default. Further, loans of the subsidiaries were similarly in default. Wayne Reeder,
who represented himself as an owner and/or manager, caused Debtor to guarantee loans such as
to Citizens Bank & Trust Company (approximately $8,000,000) without Sammy Jo’s knowledge
or consent.

Wayne Reeder created Park Reserve, LLC, a wholly owned subsidiary of the Debtor. Park
Reserve, LLC purchased property near 31st and Main, Kansas City, Missouri (the old Trinity
Lutheran Hospital site) in approximately 2008. Park Reserve, LLC constructed condomium
units to sell to the general public. It was initially planned for 267 units and a three-year target to
sell all 267 units. However, by mid 2019, when the garage was condemned by the City of Kansas
City, and a large number of lawsuits were filed by condo owners and the Homeowners’
Association, only 76 units had been sold (in 11 years). As a result of gross mismanagement and
numerous construction defects, the Debtor and others were sued along with Park Reserve, LLC.
The Debtor was forced to retain counsel to defend these cases. A huge liability to the Debtor was
the result of Wayne Reeder allegedly guarantying the Park Reserve LLC loan with Citizens Bank
& Trust (approximately $8,000,000). Citizens Bank & Trust filed for a receivership in the Circuit
Court of Jackson County, Missouri and is attempting to sell the property for $8,000,000, which
may result in a deficiency amount that the Debtor would owe as an unsecured creditor.

There were fires in September, 2018 and October, 2018, while Wayne Reeder was purporting to
manage the Debtor’s business. The fires caused extensive damage to property of tenants. The
insurance coverage for the tenants’ losses is insufficient to cover all claims and multiple lawsuits
were filed against the Debtor for these damages. The litigation caused Debtor to retain legal
counsel and expend substantial legal fees to defend these and other actions. Moreover, the fires
were devastating to Debtor’s reputation. Debtor believes it has now rehabilitated its reputation
with the quality of its leased space and contracting with credit-worthy tenants.

Due to Wayne Reeder’s mismanagement, debt service was delinquent as stated above.
Woodmen instituted a foreclosure action in 2018. Loans with high interest rates were taken out
to bring the Woodmen loan current. To bring the Woodmen loan current, the Debtor paid
$229,039.31 (which included $20,129 of attorneys’ fees for the Woodmen attorneys). Similarly,
the Andersons threatened to foreclose and the Debtor was forced to enter into multiple
forbearance agreements with the Andersons. Each time, the Debtor was forced to pay fees for the
forbearance agreements.



                                                  5
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                Desc
                              Main Document    Page 6 of 14



When Leslie Reeder took over in March, 2020, she discovered many bills had not been timely
paid. As an example, the electric company was owed in excess of $75,000 and service was
threatened to be disconnected. If it had been disconnected, it would have effectively destroyed
the entire property and created a loss of all tenants.

          V. IMPROVEMENTS NEEDED TO MAINTAIN AND GROW REVENUE

The existing freezer system is over 50 years old and in disrepair, both due to its age and because
it was very poorly maintained by the previous management. It uses a R22 Freon operating
system which is outdated and expensive to operate and is available for purchase only as a
recycled product at this time.

Wayne Reeder, in his objection to the original Disclosure Statement, complained that the freon
system like Debtor’s were no longer produced or imported. However, Wayne Reeder’s objection
failed to recognize that Freon R22 systems are still widely used today because repurposed freon
is available and is lawful to use.

The cost of the freon is factored into the $40,000 per month cost of maintaining the refrigeration
system. The Debtor has made repairs which has allowed a substantial reduction in the freon use
and costs. Previously, the Debtor was ordering freon once a month at $30,000 per purchase.
Since Leslie Reeder has taken over as CEO, the freon usage is substantially less and the Debtor
only needs to order freon every six months which is a considerable savings for the Debtor.

The Debtor has bids for a new, efficient freezer using an ammonia/brine cooling system. This
system is able to maintain consistently lower temperatures with greater energy efficiency.
The cost of this system is approximately $3,500,000. with a construction period of approximately
9 to 12 months. Additionally, there will be electrical and mechanical upgrades in the amount of
approximately $600,000. Many of the repairs have begun with the purchase of a new compressor
and new motor.

Wayne Reeder in his objection to the First Disclosure Statement misrepresented the cost of this
new system. The aggregate cost of the new freezer system (with the needed lectrical/mechanical
upgrades) is approximately $4,100,000. The company who will build and install the new system
is Custom Refrigeration Solutions owned by Terry Williams. Mr. Williams has an excellent
reputation in his very specialized field and is considered an expert in the industry. He has
intimate and detailed knowledge of Debtor’s existing system and has been responsible for the
extensive repairs, enabling the existing system to keep operating and performing to the best of its
current ability.

Debtor’s projections (See Exhibit B to this Disclosure Statement) confirm that when Woodmen
and Andersons are paid off in 2026, the Debtor will have as much as $900,000 available to cover
a down payment for the new refrigeration system.

Debtor currently budgets $40,000 per month for maintenance and repairs to the existing R22
freezer system. The installation of the ammonia /brine system would eliminate this expenditure

                                                6
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                Desc
                              Main Document    Page 7 of 14



entirely as the system will be covered by a warranty. Further, Debtor’s existing freezer tenant,
KC Cold Storage pays a base rent of $127,500 with an electrical reimbursement of $15,000. The
reimbursed amount is not equal to the electricity used by the current system. Upon installation of
the new system the freezer system will be separately metered and the tenant assumes the entire
cost of the power to run the system, thereby eliminating a combined monthly expense of
approximately $45,000.

                                        VI. FINANCING

Debtor would either seek a new loan which would pay off the existing lender Woodmen of the
World Insurance Society (“Woodmen”) or would increase its monthly payments so that the
Woodmen loan could be paid off in the three (3) years allotted in the Plan. Woodmen’s current
loan balance is just at $2,000,000. Debtor intends to either borrow sufficient funds to pay off the
Woodmen debt ($2,000) and finance the purchase/installation of the new freezer and electrical
systems ($4,100,000) or payoff the Woodmen debt and only finance the new systems
($4,100,000). Further, Debtor would hope to include up to an additional $1,000,000 for other
secured debt (any potential balance owed to Andersons and the balance owed to Optima, LLC),
resulting in a maximum loan of $7,000,000, or if Woodmen is paid off before the loan is
obtained, the Debtor would only need to borrow $4,100,000.

Leslie Reeder has had extensive contacts with institutional lenders as well as private equity firms
and individuals, both in the United States and abroad. Over the past 2 years, the contacts and
conversations between Ms. Reeder and the potential lenders have yielded favorable responses,
with one major concern: the multitude of lawsuits and the loan guarantee of the Park Reserve
debt owed to Citizens Bank. The guarantee of the Park Reserve debt was put in place by Wayne
Reeder, when he had apparent (but not actual) authority to act as a manager. Further, Wayne
Reeder filed a lawsuit against the Debtor and his family members in the Circuit Court of Jackson
County, Missouri. That lawsuit is still pending as to the family members but the Debtor has now
been dismissed.

Absent this bankruptcy the loan with Woodmen would have come due April, 2022. The Plan
extends the loan until 2025. The Debtor will search for a new lender but the Plan calls for up to
an additional three years with this lender in the event that the Debtor experiences difficulty
obtaining replacement financing (combined with financing for the replacement of the
refrigeration system and the electrical upgrades).

       VII. INCOME NECESSARY TO FUND PLAN AND REFINANCE LOANS

The Debtor currently has close to 400,000 square feet of unleased space. Debtor has spent the
past 18 months renovating unleased and it is now in leasable condition. Debtor’s current rates for
leased space average $0.40 cents per foot. This is a very competitive price in the Kansas City
area. In the Kansas City area, warehouse available space in at its lowest inventory in years due to
current economic conditions, placing the Debtor in an ideal position to easily lease up these new
areas.


                                                7
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                 Desc
                              Main Document    Page 8 of 14



When fully leased, these areas will generate an increase in income of approximately $140,000
per month. Debtor estimates an absorption period of approximately 12 to 18 months to lease the
entire 400,000 square feet now available. Debtor has launched an aggressive marketing program
that is enjoying tremendous success.

As for future development, Debtor has over 500,000 square feet of undeveloped, mined space
that can easily be repurposed for agricultural and botanical tenants. Further, there are vast
unmined areas of property that could be reopened for mining purposes as the demand for rock
and gravel is extremely high due to the prevailing construction market.

Debtor has complete confidence in its ability to reduce expenses, substantially increase revenues
and to create new revenue streams in order to secure new financing and to move forward into a
new era of success and prosperity for its business.

                                   VIII. HISTORICAL DATA

The Debtor has provided a detailed chart of its income and expenses for the fiscal years (6/1/17-
5/31/21) of 2017, 2018, 2019 and 2020. The 2020 fiscal year runs from 6/1/20-5/31/21. The
2021 fiscal year has not yet completed. See the Chart attached to this Disclosure Statement as
Exhibit A. Also, Exhibit A includes Balance Sheets and Income Statements for fiscal years
ending 5/31/19, 5/31/2020 and 5/31/21. Also attached as part of Exhibit A are the Income
Statement and Balance Sheet ending 2/28/22, which covers the first eight (8) months of
operation after the filing of the bankruptcy.

                              IX. THE CONFIRMATION PROCESS

        Approval of the Plan requires that it be confirmed by the Court. Confirmation can be
achieved in one of two ways - either (i) all classes of Claims or Interests entitled to vote have
accepted the Plan by the requisite majorities, or (ii) the Court determines that the Plan is fair and
equitable with respect to those Classes that have rejected the Plan, and that confirmation will be in
the best interests of creditors.

       A.       Classification of Claims and Eligibility to Vote.      For voting purposes, all Claims
and Interests will be grouped into Classes where members of each such Class will hold
substantially similar Claims or Interests. All persons with an impaired Claim are eligible to vote
provided that they are determined to have an Allowed Claim or Interest. A Class is "impaired" if,
under the Plan, its legal, equitable or contractual rights are in any way modified other than by
curing defaults or payment in full on the Effective Date. Claims that are not impaired are presumed
to have accepted the Plan and may not vote.

        B.     Confirmation by Acceptance. A Plan will be confirmed if it is accepted by all
Classes entitled to vote. A Class will have accepted the Plan if votes representing at least two
thirds of amount and one half in number of the Allowed Claims voting in that Class have voted to
accept the Plan. If any creditor in an otherwise accepting Class have voted against the Plan, the
Court must determine that each holder of a Claim or Interest in that Class will receive property, as

                                                 8
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                  Desc
                              Main Document    Page 9 of 14



of the Effective Date, having a value that is not less than what such holder would receive if the
Debtor was liquidated under Chapter 7 on that date.

        C.      Confirmation Without Acceptance by All Classes. If the Plan is not accepted by all
impaired Classes, the Court may nonetheless confirm the Plan if (i) at least one impaired Class has
accepted the Plan, without counting votes by insiders, and (ii) the Court finds that the Plan does
not discriminate unfairly and is fair and equitable with respect to each impaired Class that has
rejected the Plan.

        D.     Balloting. This Disclosure Statement will be mailed to all creditors and equity
holders along with the Plan, a ballot and an order containing instructions, setting certain deadlines,
and setting a hearing on confirmation. Only those ballots timely filed will be counted.

        E.      Confirmation. At the hearing on confirmation the Court will determine whether the
requisite number of votes have been received for confirmation under the acceptance method or, if
the Plan is not accepted by all Classes, then whether the Plan should be confirmed under the non-
acceptance method. The Debtor reserves the right to seek confirmation under the non-acceptance
method if less than all Classes vote to accept the Plan. The effect of confirmation generally is to
discharge the Debtor from any and all liabilities that arose prior to confirmation, except as
provided in the Plan.

                            X. DISCLOSURES OF COMPENSATION

       A.     Krigel & Krigel, P.C., the attorneys for the Debtor, were paid an initial retainer of
$35,000. Additional sums of $25,000 were paid 1/18/22, 2/7/22, 2/28/22 and 4/12/22, totaling
$100,000. Portions of these sums have been paid to the firm per the Court’s prior order to pay
monthly. The remainder of the retainer is presently held in the firm’s trust account.

       B.      Leslie Reeder presently acts as CEO and is paid $3,000 every two weeks. She
works full-time at the cave facility and works an average of 50 hours per week.

               Sammy Jo Reeder, the sole shareholder, works remotely from her home from 10-20
hours per week. She reviews and approves all of Debtor’s business decisions and reviews all
correspondence (including email) relative to Debtor’s business decisions. She is updated daily on
business activities, litigation matters and matters relating to the subsidiaries of the Debtor. She
previously earned $3,000 every two weeks and has agreed to reduce her salary to $1,500 every two
weeks.

                Stacy Reeder Robinson also works remotely from her home from 10-15 hours per
week. She similarly reviews and approves all of Debtor’s business decisions and reviews all
correspondence (including email) relative to Debtor’s business decisions. She is updated daily on
business activities; litigation matters and matters relating to the subsidiaries of the Debtor. She
previously earned $1,500 every two weeks and has agreed to reduce her salary to $375 every two
weeks.


                                                 9
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                  Desc
                             Main Document     Page 10 of 14



       C.   The Debtor has paid and is current with its U.S. Trustee Quarterly Fees.

                                   V. THE CHAPTER 11 PLAN

       The Chapter 11 Plan provides for payment to all creditors.

       A.      Classification of Claims. The claims of creditors are classified as follows:

                5.1.    Class One includes the claim of Woodmen of the World Life Insurance
Society (“Woodmen”), secured by a senior deed of trust on the Debtor’s real estate and a senior
lien on all of Debtor’s personal property, including all equipment, inventory, accounts receivable,
contract rights and general intangibles. As of July 1, 2021, the principal balance was
$2,269,303.25 and the accumulated interest was $12,805.62, for a total of $2,282,108.87. The
Promissory Note is dated 3/19/07, and was the current extension of the original loan taken out in
May, 1996. The outstanding Note presently matures April 1, 2022 and bears interest at the rate of
6.81% per annum. The Plan proposes to refinance this loan and gives the Debtor three (3) years to
complete the refinancing.

               5.2.    Class Two includes the claim of C. Floyd and Sharon Anderson
(“Anderson”), secured by a junior Deed of Trust on Debtor’s real estate. The amount of the
Anderson’s Claim is the sum, as of October 31, 2021, is $3,822,800 plus a claim for attorneys’
fees of $25,000. The Promissory Note was executed by a wholly owned subsidiary Interstate
Underground Warehouse LLC, which pledged its real estate (known as the Weld Wheel properties.
The Harrisonville Senior Care Center LLC also pledged its real estate to secure said Note. The
subsidiary Interstate Underground Warehouse LLC sold its real estate in late December 2021 and
the Anderson’s debt was reduced to $$863,228. The Debtor is assisting Harrisonville Senior care
Center LLC with the sale of its real estate and if sold, the Debtor is hopeful that sale will fully pay
this claim. The claim against this Debtor is contingent.

                5.3    Claim Three includes the claim of Optima, LLC, secured by a junior Deed
of Trust on Debtor’s real estate. The amount of Optima’s Claim is the sum, as of July 1, 2021, is
$604,750.83. That amount was disputed. The parties have reached a settlement and the Debtor
will pay the settled amount of $273,169.20 with interest at 5% per annum, payable over twenty
(20) years.

                5.4     Claim Four includes the claim of Ford Motor Credit (“Ford”) (Claim #2),
secured by a 2019 Ford Edge, VINxxx61451. The amount owed to Ford, as of 7/1/21, was
$20,783.23 plus attorneys’ fees. There is no interest on this loan. The Debtor is required to pay
$593.82 for 59 months and $593.35 for the 60th month. The loan is extended to pay off the
attorneys’ fees at the $593.82/month. The loan should pay off by 5/8/25.

               5.5    Claim Five includes the claim of Ford Motor Credit (“Ford”) (Claim #3),
secured by a 2019 Ford Transit Van, VIN xxx96022.The amount owed to Ford, as of 7/1/21, was
$11,932.29 plus attorneys’ fees. The interest rate on this loan is 9.59% per annum. The Debtor is


                                                 10
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34               Desc
                             Main Document     Page 11 of 14



required to pay $435.66 for 60 months. The loan is extended to pay off the attorneys’ fees at the
$435.66/month. he loan should pay off by 1/27/25.

                 5.6    Claim Six includes the claim of Citizens Bank & Trust Company
(“Citizens”), which extended a loan to Park Reserve LLC, a limited liability company which is
owned in part by the Debtor. Debtor guaranteed the debt. The balance owed to Citizens, according
to its Proof of Claim, is $7,318,202.21. Citizens filed suit and requested a receivership in the
Circuit Court of Jackson County, Missouri. The court in that case has entered an order establishing
a general receivership. The receiver has retained a broker to sell the real estate owned by Park
Reserve, LLC. There is a contract pending for $8,000,000. If sold as anticipated, this debt should
be paid in full. Debtor’s counsel has reached out to counsel for the bank to determine its
outstanding balance. Debtor’s counsel has not received a figure as of the filing of the Plan and
Disclosure Statement. The claim against this Debtor is contingent.

                5.7.   Class Seven includes the claim of CIT Bank NA for the sixty (60) month
lease of a Xerox copy machine, account ending in 9575. The lease payments are $590.06 per
month plus additional charges as set out in the lease agreement. The lease began in April, 2019 and
the lease expires with March, 2024. The terms of the lease include a provision of automatic
renewal for three (3) months and thereafter, on a month-to-month basis.

              5.8     Class Eight includes the claim of Pitney Bowes for the sixty-three (63)
month lease of a postage machine, account ending in 7174. The lease payments are $80 per month,
payable at $240/quarter until November, 2023.

                5.9    Class Nine includes the claim of Kansas City Cold Storage for the lease of
the entire warehouse freezer space and other space pursuant to a Lease dated 3/1/19. The Lease
runs until 2/28/29 and has two options. Kansas City Cold Storage shall pay to Debtor as set forth in
the basic rent of $127,500/month. There is a separate provision for payment of utilities and a cost-
of-living increase.

                5.10 Class Ten includes the claim of Lease Consultants Corporation for the lease
of a floor scrubber and sweeper. The terms of the lease, which was executed on 6/21/21, is for 36
months at $713.79/month.

               5.11 Class Eleven includes the claim of E3 HR Inc. for the executory contract to
lease employees and provide payroll services. This contract is an annual contract that
automatically renews annually. Each party may cancel the contract.

               5.12 Class Twelve includes all Allowed Unsecured Priority Claims for claims of
the Internal Revenue Service, Missouri Department of Revenue, California Franchise Tax Board
and City of Kansas City. Recently, 2017-2020 federal, Missouri and Kansas City tax returns (fiscal
year: June 1-May 31) were finalized, signed and mailed on April 26, 2022. The tax liabilities are
as follows:

Internal Revenue Service:            2018-2020 income tax and interest: $486,742

                                               11
Case 21-40834-drd11         Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34               Desc
                             Main Document     Page 12 of 14



Missouri Department of Revenue: 2018-2020 income tax and interest: $123,575
City of Kansas City:                2018-2020 income tax and interest: $ 40,468
City of Kansas City (claim filed)   2019 Business License:             $    111
California Franchise Tax Board (Claim filed)                           $ 3,392.72

               TOTAL UNSECURED PRIORITY CLAIMS: $654,288.72

               5.13 Class Thirteen includes all Allowed General Unsecured Non-Priority Claims
of vendors, service providers, unsecured lenders and non-priority taxes. The detail of this Class
can be found in the Plan.

The group of General Unsecured Non-Priority Claims shall be paid $250,00 of their Allowed
Claims (paid prorata), payable at $50,000/year for five (5) years.

                5.14 Class Fourteen includes the Allowed General Unsecured Non-Priority Claims
of those individuals and/or companies who assert a claim by virtue of some act that caused damage
to said individuals and/or companies and who may be covered by insurance. Objections to the
claims of the following parties have been filed and are pending. This class includes:

       Claim #17 Kline Van and Specialty Rental (asserted $11,500,000 in its Proof of Claim)
       Claim #38 Ashley Morgan (asserted unliquidated amount in her Proof of Claim)
       Claim #39 Ian and Danielle Young (asserted unliquidated amount in her Proof of Claim).

        If any of these creditors’ claims are liquidated and the amounts owed are in excess of the
insurance coverage, their Allowed General Unsecured Non-Priority Claims will be included in
Class Thirteen above.

                5.15. Class Fifteen includes the equity claim of Sammy Jo Reeder, the sole
shareholder of the Debtor. She shall retain her equity ownership in the Debtor. No distributions,
(except for salary), shall be made to Sammy Jo Reeder until such time as all payments to Allowed
Secured and Unsecured Creditors are paid in full as provided in the Plan.

               In exchange for her equity interest in the Debtor, Sammy Jo Reeder has contributed
the following to the Debtor since the filing of the petition:

              7/27/21: Sammy Jo Reeder paid CRS Custom Refrigeration Services the sum of
       $120,000 for a new compressor for the cave’s refrigeration system.

               10-12/2021: Sammy Jo Reeder initially sent $100,000 to Armstrong Teasdale law
       firm for its retainer as counsel for the Debtor. When Armstrong Teasdale law firm could
       not serve as Debtor’s counsel, it applied a portion of the $100,000 toward its unpaid
       balance and Sammy Jo Reeder contributed the remainder of $49,122.16 to the Debtor.




                                               12
Case 21-40834-drd11          Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34                  Desc
                              Main Document     Page 13 of 14



                5.16. Class Sixteen includes all Allowed Administrative Claims, whether incurred
before or after the Confirmation Date, allowable under §330 and §503(b) of the Bankruptcy Code,
and which are entitled to priority payment under §507(a)(1) of the Bankruptcy Code. The Claims
of this Class include attorneys' fees and accounting fees for post-petition services rendered to the
Debtor on and after the Filing Date. These Claims also include Claims of the United States Trustee
to the extent of any quarterly fees due under 28 U.S.C. §1930(a)(6) as of the Confirmation Date
and post-petition taxes, if any.

       B.       Treatment of Claims and Interests. The Debtor's Plan of Reorganization is
incorporated into this Disclosure Statement. Creditors and parties in interest are referred to the
Plan for a discussion of the treatment of each Class under the Plan.

        C.      Means for Execution and Implementation of the Plan. The Debtor’s gross sales
should produce sufficient funds to create a positive cash flow. The Debtor believes that it can pay
all debts that come due post-petition as well as pay the Plan payments as set forth in the Plan of
Reorganization. See Projections for 2022 through 2026 attached as Exhibit B to this Disclosure
Statement. Exhibit B projections are based, in part, upon the historical data provided in Exhibit A.

        D.      Executory Contracts and Unexpired Leases. The Debtor will assume the leases set
out in the classes of claims. All remaining executory contracts will be rejected. Debtor will reject
the lease and executory contract with Empire Holding, Inc., U.S. Patriot Services, American
Veteran KCAE (a Kansas general partnership) and American Veteran STLA (a Missouri general
partnership). All unexpired leases with other current tenants will be assumed.

                    VI. CONSEQUENCES OF DENIAL OF CONFIRMATION

         If the Debtor's Plan or any amended Plan is not confirmed, the case may be converted to a
case under Chapter 7 or it may be dismissed. If converted, a trustee would be appointed to
liquidate the Debtor's assets and distribute the proceeds to creditors. Based upon the analysis of
assets, liabilities, and the tax consequences, there is no possibility that general unsecured non-
priority creditors would receive more than what is being offered in this Plan.

                                  VII. LIQUIDATION ANALYSIS

      The Debtor has prepared a liquidation analysis of its assets. This analysis is attached as
Exhibit C to this Disclosure Statement.

        The Debtor believes that under the best scenario, liquidation would realize significantly
less for the unsecured creditors. As the Debtor's Plan proposes to pay the unsecured non-priority
creditors that are listed in Class 13 a total of $250,000, it is extremely unlikely that the unsecured
creditors would receive more if the assets were liquidated on the Effective Date of the Plan.




                                                 13
Case 21-40834-drd11     Doc 424 Filed 05/02/22 Entered 05/02/22 16:29:34   Desc
                         Main Document     Page 14 of 14




                                            INTERSTATE UNDERGROUND
                                            WAREHOUSE AND INDUSTRIAL
                                            PARK, INC.


Date   May 2, 2022                          /s/ Leslie Reeder
                                            Leslie Reeder, CEO



KRIGEL & KRIGEL, P.C.

/s/ Erlene W. Krigel
Erlene W. Krigel, No. 29416
4520 Main Street Suite 700
Kansas City, Missouri 64111
Telephone: (816) 756-5800
Facsimile: (816) 756-1999
ATTORNEYS FOR DEBTOR




                                       14
